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                             BEFORE THE UNITED STATES

                 JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

                                                      )
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                                                      )
 In re: Real Estate Commission Antitrust Litigation   )   MDL No. 3100
                                                      )
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   NATIONAL ASSOCIATION OF REALTORS®’S NOTICE OF WITHDRAWAL
       OF ITS RESPONSE IN SUPPORT OF TRANSFER OF ACTIONS TO
      THE NORTHERN DISTRICT OF ILLINOIS FOR COORDINATED OR
   CONSOLIDATED PRETRIAL PROCEEDINGS PURSUANT TO 28 U.S.C. § 1407


       Pursuant to the terms of a settlement agreement, the National Association of REALTORS®

(“NAR”) hereby withdraws its January 23, 2024 response to Movants’ petition for transfer and

centralization pursuant to 28 U.S.C. § 1407 (ECF Nos. 196, 295 (as amended)).


       On March 15, 2024, NAR reached a settlement agreement with the plaintiffs in four

actions, namely Burnett v. National Association of Realtors, No. 19-cv-00332 (W.D. Mo.), Moehrl

v. The National Association of Realtors, No. 19-cv-01610 (N.D. Ill.), Gibson v. National

Association of Realtors, No. 23-cv-00788 (W.D. Mo.), and Umpa v. National Association of

Realtors, No. 23-cv-00945 (W.D. Mo.). That settlement agreement, which is subject to approval

by the Burnett court under Rule 23 of the Federal Rules of Civil Procedure, would release NAR

(and various third-party beneficiaries) on a class-wide basis from claims by home sellers

nationwide, including but not limited to claims based on commissions in connection with the sale




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of any residential home. The settlement agreement contains a provision requiring NAR to

withdraw its existing response before this Panel (ECF Nos. 196, 295 (as amended)).


Dated: March 22, 2024                             Respectfully submitted,

                                                  /s/ Christopher M. Curran
                                                  Christopher M. Curran

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